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 1                                   NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   RaeAnn Patton,                                    No. CV-16-02983-PHX-JJT
10                 Plaintiff,                          ORDER
11   v.
12   Sterling Jewelers Incorporated, et al.,
13                 Defendants.
14
15           Upon review of the Stipulation for Dismissal of Experian Information Solutions,
16   Inc. With Prejudice (Doc. 48), filed by Plaintiff and Defendant Experian Information
17   Solutions, Inc. only, and good cause appearing,
18           IT IS ORDERED that the Stipulation (Doc. 48) is granted. The above entitled
19   matter is hereby dismissed with prejudice as to Defendant Experian Information
20   Solutions, Inc., only, with the parties to bear their own costs and attorneys’ fees.
21           Dated this 12th day of June, 2017.
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23
                                           Honorable John J. Tuchi
24                                         United States District Judge
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